         Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 1 of 11




Roscoe A. Holley




(Write the Jull name oj each plaintiff who isfiling
                                                      (to be filled in by the Clerk's Office)
this complaint. If the names oj all the plaintifft
cannot fit in the space above, please write "see
                                                      Jury Trial:     I!!!IYes   0 No
allached" in the space and allach an additional
                                                                      (check one)
page with the Julllist oj names.)


    -against-

PHH Mortgage Corporation
                                                                                                (;
Merrill Lynch Credit Corporation
"see attached"
(Write the Jull name oj each defendant who is
being sued. If the names oj all the defendants
cannot fit in the space above, please write "see
allached" in the space and allach an additional
page with the Julllist oj names.)
 Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 2 of 11




                                     ATTACHMENT-A
                               (attach to Complaint, page-I)


Defendants Being Sued:

PHH Mortgage Corporation

Bank of America, N.A.

Merrill Lynch Credit Corporation

Mortgage Electronic Registration System, Inc.

Federal National Mortgage Association (FNMA)
      Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 3 of 11



I.   The Parties to This Complaint

     A.    The Plaintiff(s)

           Provide the information below for each plaintiff named in the complaint. Attach
           additional pages if needed.

                  Name                   Roscoe A. Holley

                  Street Address         8001 Corkberry Lane #510

                  City and County        Pasadena, Anne Arundel County

                  State and Zip Code     Maryland, 21122-7135

                  Telephone Number       (301) 802-8052

                  E-mail Address         scoeholley@aol.com


     B.    The Defendant(s)

           Provide the information below for each defendant named in the complaint,
           whether the defendant is an individual, a government agency, an organization, or
           a corporation. For an individual defendant, include the person's job or title (if
           known). Attach additional pages if needed.

            Defendant No. I
                  Name                   PHH Mortgage Corporation

                   Job or Title          Mortgage Servicer 1st and 2nd Lien note
                   (if known)
                   Street Address        1 Mortgage Way

                   City and County       Mt. Laurel

                   State and Zip Code    New Jersey 08054

                   Telephone Number      (800) 449-8767

                   E-mail Address
                   (if known)




                                            2
Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 4 of 11



    Defendant NO.2
          Name                  Mortgage Electronic Registration System, Inc.

          Job or Title          Nominee for Note Owner
          (ifknown)
          Street Address        P.O. Box 2026

          City and County       Flint
          State and Zip Code    MI,48501-2026

          Telephone Number      (888) 679-MERS

          E-mail Address        laurindac@mersinc.org
          (ifknown)

    Defendant NO.3
          Name                  Bank of America, N.A.

          Job or Title          Owner, 2nd position Mortgage Note
          (ifknown)
          Street Address         100 North Tryon Street

          City and County       Charlotte

          State and Zip Code     NC, 28255

          Telephone Number       (800) 934-5626

          E-mail Address
          (if known)

    Defendant NO.4
          Name                   Merrill Lynch Credit Corporation

          Job or Title           Bank of America Corporation Company
          (ifknown)
          Street Address         840ZDeer Lake Drive East

          City and County        Jacksonville

          State and Zip Code     FL, 32246-6484

          Telephone Number       (1-904) 218-6000

          E-mail Address
          (if known)

          (If there are more than four defendants. attach an additional page
          providing the same information for each additional defendant.)



                                    3
  Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 5 of 11




                                    ATT ACHMENT - B
                                 (attach to page-2, Part-I, B)


Part - 1. The Parties to This Complaint

Defendant No. 5

Name                 Federal National Mortgage Association (FNMA)

Job or Title          Owner of 1st Position Mortgage Note
(if known)

Street Address         3900 Wisconsin Ave., N.W.

City and County       ~W~a=s~h=in~g~t=o~n                           _

State and Zip Code      District of Columbia, 20016

Telephone Number (800) 232-6643

E-mail Address
(if known)
           Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 6 of 11



II.   Basis for Jurisdiction

      Federal courts are courts oflimited jurisdiction (limited power). Generally, only two
      types of cases can be heard in federal court: cases involving a federal question and cases
      involving diversity of citizenship of the parties. Under 28 U.S.C. ~ 1331, a case arising
      under the United States Constitution or federal laws or treaties is a federal question case.
      Under 28 U.S.C. ~ 1332, a case in which a citizen of one State sues a citizen of another
      State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
      case. In a diversity of citizenship case, no defendant may be a citizen of the same State
      as any plaintiff.

      What is the basis for federal court jurisdiction?         (check all that apply)

              o     Federal question                             !!!! Diversity of citizenship

      Fill out the paragraphs in this section that apply to this case.

      A.       If the Basis for Jurisdiction      Is a Federal Question

               List the specific federal statutes, federal treaties, and/or provisions of the United
               States Constitution that are at issue in this case.
               nJa




      B.       If the Basis for Jurisdiction      Is Diversity of Citizenship

               1.       The Plaintiff(s)

                        a.      If the plaintiff is an individual

                                The plaintiff, (name) Roscoe         A. Holley            , is a citizen of
                                the State of (name) _M_a_ry_la_n_d                    _



                        b.      If the plaintiff is a corporation

                                The plaintiff, (name) nJa                            , is incorporated
                                under the laws of the State of (name) _nJ_a                                   .
                                and has its principal place of business in the State of (name)
                                n/a


                        (If more than one plaintiff is named in the complaint, attach an additional
                        page providing the same information for each additional plaintiff)

                                                      4
Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 7 of 11



    2.   The Defendant(s)

         a.        If the defendant is an individual

                   The defendant, (name) _n_'a                                     , is a citizen of
                   the State of (name) ------------
                                          n/a                                      Or is a citizen of
                   (foreign nation) _n_'a                                  _


         b.        If the defendant is a corporation

                   The defendant, (name) PHH Mortgage Corporation         , IS

                   incorporated under the laws of the State of (name)
                    Maryland                    , and has its principal place of
                   business in the State of (name) New Jersey                                 •    Or is
                   incorporated under the laws of (foreign nation)
                    nla                         , and has its principal place of
                   business in (name) nla
                                       -----------

         (lfmore than one defendant is named in the complaint, attach an
         additional page providing the same information for each additional
         defendant.)

    3.   The Amount in Controversy

         The amount in controversy-the     amount the plaintiff claims the defendant
         owes or the amount at stake--is more than $75,000, not counting interest
         and costs of court, because (explain):
          $10,000.000,00   is sought from the defendants for tort, deceptive and fraudulent

          mortgage servicing practices; loss of revenue due to defendants' tort, deceptive and

          fraudulent mortgage servicing practices and, gross neglect of duty and responsibility.




                                          5
 Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 8 of 11




                                    ATTACHMENT - C
                              (attach to page-5, Part-B (2) (b»


2. Defendant(s)

       b.l.   The defendant is a corporation

              The defendant, Federal National Mortgage Association, is
              incorporated under the laws of the state of Delaware , and has its principal
              place of business in the state (city) of District of Columbia.


       b.2.   The defendant is a corporation

              The defendant, Bank of America, N.A., is incorporated under the laws of
              the state of Delaware, and has its principal place of business in the state
              of North Carolina.


       b.3.   The defendant is a corporation

              The defendant, Merrill Lynch Credit Corporation., is incorporated under the
              laws of the state of Delaware, and has its principal place of business in the
              state of North Carolina.


       b.4.   The defendant is a corporation

              The defendant, Mortgage Electronic Registration Systems. Inc., is incorporated
              under the laws of the state of Delaware , and has its principal place of business
              in the state of Virginia.
        Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 9 of 11



III.   Statement of Claim

       Write a short and plain statementof the claim. Do not make legal arguments. Stateas
       briefly as possible the facts showing that eachplaintiff is entitled to the damagesor other
       relief sought. Statehow eachdefendant was involved and what eachdefendant did that
       causedthe plaintiff harm or violated the plaintiff's rights, including the dates and places
       of that involvement or conduct. If more than one claim is asserted,number eachclaim
       and write a short and plain statementof eachclaim in a separateparagraph. Attach
       additional pagesif needed.

       Claim #1 - DECEIT and NEGLIGENT MISREPRENTATION:                    PHH letter dated
       10/26/2016 stated deceptive, misleading information regarding the loan servicing.
       Claim #2 -INVALID, IllEGAL        CORPORATE ASSIGNMENT of DEED ofTRUST:
       Corporate Assignment of Deed of Trust notarized on 02/01/2017 was not executed
       by borrower, as notarized by Regina D. Brundage & attested by Jacqueline Watkins.
       Claim #3 - IllEGAL     FORECLOSURE: PHH Mort. Corp. has started foreclosure
       through Bank of America and Merrill lynch, which have no interest in the 1st
       position mortgage note.
       Claim #4 - WHO OWNS THE NOTE: There has been conflicting information given
       as to the true owner of the 1st and 2nd position mortgage note, per correspondence
       from Merrill lynch dated; 6/22/2016 and, mortgage statement dated; 5-16-2017.
       Claim #5 - CONTINUED INFLICTION OF HARM and WRONGDOING: PHH Mort.
       Corp., Bank of America, N.A. and Merrill lynch Credit Corp. deliberate attempts
       to avoid mortgage modification by delivering false information dated; 8/18/2016.
       Claim #6 - UNJUST ENRICHMENT: Interest Only payments were continually
       collected by PHH Mort. Corp. contrary to its obligation to modify the 2nd lien
       position payments. Bank of America, N.A.
       Claim #7 - IllEGAL     MORTGAGE SERVICING: Merrill lynch is servicing 1st and
       2nd position lien mortgage notes it has no interests in. Per 2017 thru 2011 data.
       Claim #8 - RESPA 6 VIOLATION BY SERVICER: PHH Mortgage Corp. refusal to
       provide full and timely answers and solutions to QWR per response dated;
       08/16/2016.




                                                6
       Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 10 of 11



IV.   Relief

      State briefly and precisely what damages or other relief the plaintiff asks the court to
      order. Do not make legal arguments. Include any basis for claiming that the wrongs
      alleged are continuing at the present time. Include the amounts of any actual damages
      claimed for the acts alleged and the basis for these amounts. Include any punitive or
      exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
      actual or punitive money damages. For any request for injunctive relief, explain why
      monetary damages at a later time would not adequately compensate you for the injuries
      you sustained, are sustaining, or will sustain as a result of the events described above, or
      why such compensation could not be measured.
      Punitive and compensatory damages are requested pursuant to this complaint.
      Prior injunctions and sanctions against Defendants for same or similar complaints
      for deceptive mortgage practices have been levied by various courts. Actual damage
      amounts; prelim. est. = $77,000.00. Requested exemplary damages =$9,923,000.00
      Total compensation requested by this court is $10,000,000.00




                                                7
      Case 1:17-cv-01768-RDB Document 1 Filed 06/27/17 Page 11 of 11



V.   Certification   and Closing

     Under Federal Rule of Civil Procedure II, by signing below, 1certifY to the best of my
     knowledge, information, and belief that this complaint: (I) is not being presented for an
     improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
     cost oflitigation; (2) is supported by existing law or by a nonfrivolous argument for
     extending, modifYing, or reversing existing law; (3) the factual contentions have
     evidentiary support or, if specifically so identified, will likely have evidentiary support
     after a reasonable opportunity for further investigation or discovery; and (4) the
     complaint otherwise complies with the requirements of Rule 11.

     A.      For Parties Without an Attorney

             I agree to provide the Clerk's Office with any changes to my address where case-
             related papers may be served. 1 understand that my failure to keep a current
             address on file with the Clerk's Office may result in the dismissal of my case.

             Date of signing: 0/'2.   7-   ,20Q.
                                I
                                                    \
             Signature of Plaintiff
             Printed Name of Plaintiff     Roscoe A. Holley
                                           8001 Corkberry Ln. #5 0 - Pasadena, MD 21122
                                           (301) 802-8052
                     (If more than one plaintiff is named in the com aint, a/lach an additional
                     certification and signature page Jor each additi nal plaintiff)

     B.      For Attorneys

             Date of signing:              , 20_.

             Signature of Attorney
             Printed Name of Attorney
             Bar Number
             Name of Law Firm
             Address
             Telephone Number
             Email Address




                                               8
